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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

IN RE:                                                    §
                                                          §
ANTHONY S. MUHARIB                                        §
                                                          §            CASE NO. 24-32843
           Debtors                                        §            (Chapter 7)

                                  MOTION FOR RELIEF FROM THE STAY
                                    REGARDING EXEMPT PROPERTY

THIS IS A MOTION FOR RELIEF FROM THE AUTOMATIC STAY. IF YOU OBJECT TO THE GRANTING OF RELIEF
FROM THE AUTOMATIC STAY, YOU SHOULD CONTACT THE MOVANT IMMEDIATELY TO TRY TO REACH AN
AGREEMENT. IF YOU CANNOT REACH AN AGREEMENT, YOU MUST FILE A WRITTEN RESPONSE AND SEND A
COPY TO MOVANT NOT LATER THAN JUNE 3, 2025 AND YOU MUST ATTEND THE HEARING.

THE COPY SENT TO THE MOVANT MUST BE DELIVERED BY HAND OR ELECTRONIC DELIVERY IF IT IS SENT
LESS THAN SEVEN DAYS PRIOR TO THE HEARING. UNLESS THE PARTIES AGREE OTHERWISE, THE HEARING
MAY BE AN EVIDENTIARY HEARING AND THE COURT MAY GRANT OR DENY RELIEF FROM THE STAY BASED
ON THE EVIDENCE PRESENTED AT THIS HEARING. IF A TIMELY OBJECTION IS FILED, THE COURT WILL
CONDUCT A HEARING ON THIS MOTION ON JUNE 10, 2025 AT 10:00 AM IN COURTROOM 401, 515 RUSK,
HOUSTON, TX 77002.


1. This motion requests an order from the Bankruptcy Court authorizing the person filing this motion to foreclose
on or to repossess the property that is identified in paragraph 3.
2. Movant: Cadence Bank f/k/a BancorpSouth Bank.
3. Movant, directly or as agent for the holder, holds a security interest in 4723 Ivanhoe Street, Houston, TX 77027,
further described as:

    Exhibit “A” attached hereto and made a part hereof for all purposes.

4. The property described in paragraph 3 is claimed as exempt by the debtor. Movant does not contest the claimed
exemption.
5. Type of collateral (e.g., Home, Manufactured Home, Car, Truck, Motorcycle): Home
6. Debtor’s scheduled value of property: $1,199,100.00.
7. Movant’s estimated value of property: $1,199,100.00.
8. Total amount owed to movant: $1,086,549.78.
9. Estimated equity: $112,550.22.

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10. Total pre and post-petition arrearages: $142,841.90.
11. Total post-petition arrearages: $142,841.90.
12. Amount of unpaid, past due property taxes, if applicable: $0.00.
13. Expiration date on insurance policy, if applicable: _______________________.
14. X          Cadence Bank f/k/a BancorpSouth Bank, Movant seeks relief based on the debtor(s)’ failure to make
payments. The Debtor's payment history in this case is attached to the Affidavit in Support of Motion for Relief
from Automatic Stay. Any party in interest may move to require the Movant to provide a complete payment history.
If ordered by the Court, the complete payment history must be provided not less than 7 days prior to the final
hearing on the motion for relief from the stay. Movant may include a complete payment history with its original
motion. If a payment history is ordered, it must be provided in a format substantially similar to the format required
by BLR 3001-1. Movant acknowledges that the Court may prohibit the use of parole evidence to interpret a payment
history that does not satisfy these representations.
15. __________. Movant seeks relief based on the debtor(s)’ failure to provide a certificate of insurance reflecting
insurance coverage as required under the debtor’s pre-petition contracts.
16. If applicable: Name of Co-Debtor: n/a.
17. Based on the foregoing, movant seeks termination of the automatic stay and the co-debtor stay, to allow movant
to foreclose or repossess the debtor(s)’ property and seeks to recover its costs and attorneys’ fees in an amount not to
exceed the amount listed in paragraph 10.
18. Movant certifies that prior to filing this motion an attempt was made to confer with the Debtor(s)’ counsel (or
with Debtor(s), if pro se) either by telephone, by e-mail or by facsimile, by the following person on the following
date and time: TMedrano on April 7, 2025 and April 8, 2025. An agreement could not be reached. If requested by
debtor or debtor’s counsel, a payment history in the form attached to this motion was provided at least two days,
excluding intermediate weekends and holidays) before this motion was filed.

Date: May, 13, 2025                           /s/ Travis C. Badger
                                              Movant Counsel’s Signature
                                              Name:             Travis C. Badger
                                              TBN:              24082646
                                              Address:          3400 Avenue H, 2nd Floor
                                                                Rosenberg, TX 77471
                                              Telephone:        281-633-9900
                                              Fax:              281-633-9916
                                              Email:            bkcy@badgerlawoffice.com



                       Certificate of Service and Certificate of Compliance with BLR 4001

         A copy of this motion was served on the persons shown on exhibit “1” at the addresses reflected on that
exhibit on May 13, 2025. Movant certifies that movant has complied with Bankruptcy Local Rule 4001.


                                              /s/ Travis C. Badger
                                              Travis C. Badger




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                Exhibit “A”




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